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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1855V



 MICHELLE WHITAKER,                                          Chief Special Master Corcoran

                         Petitioner,                         Filed: January 5, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Alec Saxe, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION AWARDING DAMAGES 1

       On December 15, 2020, Michelle Whitaker filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table injury – shoulder injury related
to vaccine administration (“SIRVA”), as the result of an influenza (“flu”) vaccination
received on October 16, 2019. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On November 8, 2023, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On January 4, 2024, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $60,000.00 for
pain and suffering. Proffer at 1. In the Proffer, Respondent represented that Petitioner


1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $60,000.00 (in damages for pain and suffering) in the form of a
check payable to Petitioner. This amount represents compensation for all damages that
would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


MICHELLE WHITAKER,

                      Petitioner,
                                                          No. 20-1855V (ECF)
v.                                                        Chief Special Master Corcoran

SECRETARY OF HEALTH
AND HUMAN SERVICES,

                      Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 15, 2020, Michelle Whitaker (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to -34 (“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza vaccine she received on October 16, 2019. Petition at 1. On November 3, 2023, the

Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that

this case is appropriate for compensation under the terms of the Act for a SIRVA Table injury,

and on November 8, 2023, the Chief Special Master issued a Ruling on Entitlement finding

petitioner entitled to compensation. ECF No. 53; ECF No. 55.

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $60,000.00 for pain and suffering. This represents all elements of compensation

to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
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II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $60,000.00, in the form of a check made payable to petitioner.1

Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.


                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Director
                                             Torts Branch, Civil Division

                                             HEATHER L. PEARLMAN
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             JULIA M. COLLISON
                                             Assistant Director
                                             Torts Branch, Civil Division

                                             /s/ Alec Saxe
                                             ALEC SAXE
                                             Trial Attorney
                                             Torts Branch, Civil Division
                                             U.S. Department of Justice
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Dated: January 4, 2024




1
 Should petitioner die prior to the entry of judgment, respondent reserves the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.

                                                2
